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 5

 6 Attorneys for Plaintiff
   United States of America
 7

 8                               IN THE UNITED STATES DISTRICT COURT
                                    EASTERN DISTRICT OF CALIFORNIA
 9

10   UNITED STATES OF AMERICA,                           CASE NO. 2:14-CR-00022-JAM
11                                Plaintiff,                              - - - - - - - - - PROTECTIVE
                                                         STIPULATION AND [PROPOSED]
                                                         ORDER RE: DISCOVERY CONTAINING
12                          v.                           PERSONAL IDENTIFYING INFORMATION
13   MARCUS A. COOPER,
     TIANA E. NAPLES, and
14   LETICIA A. ROQUE,
15                                Defendants.
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18          IT IS HERBEY STIUPLATED AND AGREED by the parties that some of the materials
19 provided as discovery in this case to defense counsel are subject to a Protective Order. Defendants are

20 charged with offenses related to an alleged tax refund fraud scheme.

21          The parties agree that discovery in this case contains “Protected Information,” including but not
22 limited to, victim and witness tax information and records, social security numbers, addresses, bank

23 account information, and dates of birth. The Protective Order extends to all materials provided to the

24 defense, including those concerning conduct not directly charged in the Indictment.

25          Through this Stipulation, defense counsel agree that the Protected Information is entrusted to
26 counsel only for the purposes of representing their clients in this criminal case and for no other purpose.

27 Further, defense counsel agree not to share any documents that contain Protected Information with

28 anyone other than designated defense investigators, experts, and support staff. Defense counsel will

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 1 have a duty to inform their defense investigators, experts, and support staff of this Order and provide

 2 them with a copy of it. Defense counsel may permit the defendants to review the Protected Information

 3 and be aware of its contents, but defendants shall not be given control of the Protected Information or

 4 provided any copies of the Protected Information that have not been redacted of the Protected

 5 Information. Any person receiving Protected Information or a copy of the Protected Information from

 6 defendants’ counsel shall be bound by the same obligations as counsel and further may not give the

 7 Protected Information to anyone (except that the protected documents shall be returned to counsel).

 8          Counsel agree to store Protected Information in a secure place and to use care to ensure that

 9 information is not disclosed to third parties in violation of this agreement. At the conclusion of the case,

10 defense counsel agree to destroy all copies of Protected Information or to return the Protected

11 Information to the United States and certify that this has been accomplished.

12          Notwithstanding the foregoing, counsel, staff and/or the investigators for the defendants may

13 make copies of the Protected Information for trial preparation and presentation. Any copies must,

14 however, remain in the possession of counsel, investigator, staff, expert or the court.

15          Nothing in this Stipulation and Protective Order prevents defense counsel or the defendants from

16 maintaining unredacted copies of records concerning the defendants’ own Protected Information.

17          In the event that the defendant substitutes counsel, undersigned defense counsel agrees to

18 withhold these documents form new counsel unless and until substituted counsel agrees also so be

19 bound by this order.

20 Dated: January 16, 2015                                     BENJAMIN B. WAGNER
                                                               United States Attorney
21

22                                                      By: /s/ MATTHEW G. MORRIS
                                                            MATTHEW G. MORRIS
23                                                          Assistant United States Attorney
24

25 Dated: January 16, 2015                              By: /s/ CANDICE L. FIELDS (auth by email)
                                                            CANDICE L. FIELDS
26                                                          Attorney for Marcus Cooper
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      DISCOVERY CONTAINING PERSONAL IDENTIFYING            2
      INFORMATION
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 1 Dated: January 16, 2015                                  /s/ BENJAMIN D. GALLOWAY (auth
                                                        By: by email)
 2                                                          BENJAMIN D. GALLOWAY
                                                            Attorney for Tiana Naples
 3

 4 Dated: January 16, 2015                                  /s/ TASHA P. CHALFANT (auth by
                                                        By: email)
 5                                                          TASHA P. CHALFANT
                                                            Attorney for Leticia Roque
 6

 7
       IT IS SO ORDERED:
 8
     Dated: January 16, 2015.
 9                                                             HONORABLE EDMUND F. BRENNAN
                                                               U.S. Magistrate Judge
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      STIPULATION AND [PROPOSED] PROTECTIVE ORDER RE:
      DISCOVERY CONTAINING PERSONAL IDENTIFYING            3
      INFORMATION
